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     Attorneys for Defendant,
 7   CHARLES LEE WHITE
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                    )    CASE NO. CR No. S-03-042 FCD
                                                  )
12                            Plaintiff,          )    ORDER TO TRANSFER CHARLES LEE
                                                  )    WHITE TO SPRINGFIELD, MISSOURI
13                                                )    MEDICAL FACILITY
     vs.                                          )
14                                                )
     SHANGO JAJA GREER, et al,                    )
15                                                )
                                                  )
16                            Defendants.         )
                                                  )
17                                                )
18           On October 27, 2005, a hearing pursuant to Federal Rules of Criminal Procedure 18
19   U.S.C. §4241 was held before the Honorable Frank C. Damrell. In attendance for the
20   Government was Steve Lapham, Ken Melikian and Phil Ferrari. In attendance for CHARLES
21   LEE WHITE was defense counsel, Jesse M. Rivera and Mr. White, himself.
22           Dr. Zakee Matthews, M.D., was called to the stand and he testified. At the conclusion of
23   the hearing, the Court issued a finding, by a preponderance of the evidence, that there was
24   reasonable cause to believe that the defendant, CHARLES LEE WHITE, may be suffering from
25   a mental disease or defect rendering him mentally incompetent to the extent that he is unable to
26   understand the nature and consequences of the proceedings against him, or to assist properly in
27   his defense.
28   ///
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 1                                                             ORDER
 2             The Court hereby orders that the Attorney General shall hospitalize the defendant,
 3   CHARLES LEE WHITE, for treatment in a suitable facility, specifically Springfield, Missouri:
 4             1.        For such a reasonable period of time, not to exceed four months, as is necessary
 5   to determine whether there is a substantial probability that in the foreseeable future he will
 6   obtain the capacity to permit the trial to proceed; and
 7             2.        For an additional reasonable period of time until:
 8                       a.        His mental condition is so improved that the trial may proceed.
 9             IT IS HEREBY ORDERED, that CHARLES LEE WHITE be committed to Springfield,
10   Missouri, forthwith. The United States Marshall’s Office is further ordered to transfer
11   CHARLES LEE WHITE from the Sacramento County Jail to Springfield, Missouri treatment
12   facility.
13   IT IS HEREBY SO ORDERED.
14

15
     Dated: December 13, 2005
16                                                               /s/ Frank C. Damrell Jr.
                                                                 Honorable Frank C. Damrell JR.
17                                                               Honorable Judge
18

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                                  [Proposed] Order to Transfer Charles Lee W hite to Springfield, Missouri Medical Facility
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